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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 NEVRO CORP,                                       Case No. 16-cv-06830-VC
                Plaintiff,                         ORDER TO SHOW CAUSE; ORDER RE
                                                   MOTION FOR STAY, MOTION FOR
         v.                                        LEAVE TO FILE MOTION FOR
                                                   PARTIAL RECONSIDERATION,
 BOSTON SCIENTIFIC CORPORATION,                    MOTION FOR PARTIAL
 et al.,                                           RECONSIDERATION OF DECEMBER
                                                   20, 2017 SEALING ORDER, AND
                Defendants.                        ADMINISTRATIVE MOTION TO SEAL
                                                   Re: Dkt. Nos. 255, 262


       On November 2, 2017, the Boston Scientific defendants moved to amend their answer to

add state-law counterclaims against Nevro Corp. In connection with this motion, Boston

Scientific attempted to seal portions of its proposed counterclaims, portions of Nevro's

opposition, and a number of exhibits supporting Nevro's opposition. Dkt. Nos. 192, 209. On

December 20, 2017, this Court denied the motion for leave to amend. Dkt. No. 247. The related

motions to file documents under seal were also denied in full because Boston Scientific had not
shown compelling reasons to seal any of the information it proposed to seal and its requests were

frivolously overbroad.

       Boston Scientific has moved for leave to file a motion for partial reconsideration of the

decision denying the motions to file documents under seal. That request is granted, and the

Court now considers the motion for partial reconsideration. That motion is denied, because

Boston Scientific has again requested to seal information without a legitimate basis. Most

egregiously, Boston Scientific has requested that the Court seal parts of an email that could
constitute evidence that Boston Scientific intended to copy Nevro's technologies (as well as the
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technologies of other companies). Rafael Carbunaru, a Vice President of Research and

Development at Boston Scientific, wrote that another employee thought Boston Scientific's

"clinical research is short term focused (marketing and sales claims), or essentially me-too

approaches (DBS), but not innovative in nature." "That is why," Carbunaru continued, "we will

need to copy or acquire approaches developed by others (Nevro, Spinal Modulation,

Neurosigma, etc)." Dkt. 202-8 at 2; see also Dkt. No. 255-5 at 3. Now Carbunaru has submitted

a declaration in which he asserts that Boston Scientific "considers this information to be its trade

secrets." Dkt. No. 255-3 at ¶ 4. He characterizes the statement Boston Scientific wants to seal as

a discussion of "BSC’s strategies for developing new technologies to add to BSC’s stable of

products in order to remain competitive in the market, as well as [a discussion of] BSC’s

business development efforts for producing innovative products." Id. But it is obvious that

Boston Scientific actually wants to seal this information because the company is concerned that

the statement creates the impression that Boston Scientific was acting improperly. Without

opining on whether this email actually constitutes evidence that Boston Scientific did anything

improper, what's clear is that the document cannot be filed under seal simply because it might

suggest that possibility. It's this sort of misuse of the sealing process that allowed the church

abuse scandal to remain hidden for so long. See Gregg Costa, Federal Appellate Judge: Too

Many Sealed Documents, National Law Journal, Feb. 15, 2016.
       There are a number of other proposed redactions that lack justification. For example,

Boston Scientific also requests that the Court keep under seal a discussion of technical

information in another internal Boston Scientific email because the "redactions cover detailed

discussions regarding the exact technical specifications and design of BSC’s non-public products

in development." Dkt. No. 255-3 at ¶ 5. But the proposed redactions actually cover a number of

discussions regarding Nevro's products, and Nevro does not want that material to be redacted.

Dkt. No. 202-10 at 2-4; see also Dkt. No. 255-6 at 3-5. Boston Scientific does not explain how

the technical details of Nevro's products could possibly be Boston Scientific's confidential
information, or how the disclosure of this information could unfairly prejudice Boston Scientific.


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For the same reasons, the motion to seal portions of Nevro's opposition to this set of motions is

also denied.

       The Clerk of the Court is ordered to unseal the following docket entries: 192-4, 192-6,

202-4, 202-6, 202-8, 202-10, 202-12, 202-14, 202-16, 202-18, 202-20, 202-22, 202-24, 202-26,

and 262-4.

       All lawyers for the Boston Scientific defendants involved in the sealing requests and the

motion for reconsideration are ordered to show cause why they should not each be sanctioned

$500 for their frivolous and vexatious conduct. Each lawyer involved must file a separate brief

responding to this order to show cause by no later than February 20, 2018, at 10:00 a.m.

       IT IS SO ORDERED.

Dated: February 15, 2018
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




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